      3:11-cv-03406-RM-TSH # 85      Page 1 of 2                                     E-FILED
                                                           Monday, 12 June, 2017 02:44:43 PM
                                                                Clerk, U.S. District Court, ILCD

                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS
                            SPRINGFIELD DIVISION

UNITED STATES OF AMERICA, and               )
THE STATES OF CALIFORNIA,                   )
COLORADO, DELAWARE, HAWAII,                 )
ILLINOIS, MARYLAND, MONTANA,                )
NEVADA, NEW JERSEY, NEW                     )
MEXICO, VIRGINIA, and the DISTRICT          )
OF COLUMBIA, ex rel. THOMAS                 )
PROCTOR,                                    )
                                            )
      Plaintiffs,                           )         NO. 11-3406
                                            )
      v.                                    )
                                            )
SAFEWAY, INC.,                              )
                                            )
      Defendant.                            )
                                            )

                                    ORDER

RICHARD MILLS, U.S. District Judge:

      This matter is before the Court pursuant to the United States’ and Relator’s

Joint Motion to Correct the Record [d/e 84] in the Court’s previous Order Denying

the Defendant’s Motion to Dismiss [d/e 71]. The Defendant does not object to the

motion.

      For good cause shown, The United States’ and Relator’s Joint Motion to

Correct the Record [d/e 84] is GRANTED.

      IT IS THEREFORE ORDERED, in accord with Federal Rule of Civil
       3:11-cv-03406-RM-TSH # 85       Page 2 of 2




Procedure 60(a), that the Court’s Order Denying the Defendant’s Motion to Dismiss

[d/e 71], is hereby corrected Nunc Pro Tunc to provide only the claims asserted on

behalf of the State of Maryland are dismissed with prejudice while the claims asserted

on behalf of the State of Colorado are not dismissed and are to proceed.

ENTER: June 9, 2017

                   FOR THE COURT:

                                                     /s/ Richard Mills
                                                     Richard Mills
                                                     United States District Judge
